                   IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


United States of America,         )
                                  )
      Plaintiff,                  )
                                  )
 V.                               )
                                  )
                                  )                  No. 22cr2041-CAB
                                  )
Patricia Gaudron,                 )
      Defendant.                  )
                                  )
_________                         )


                            JURY INSTRUCTIONS




Dated: November 29, 2022

                                      Hon. Cathy Ann Bencivengo
                                      United States District Judge




                                      1
                           COURT'S INSTRUCTION NO. 1


       Members of the jury, now that you have heard all the evidence, it is my duty
to instruct you on the law that applies to this case. You have each been given a
copy of these instructions that you may consult during deliberations.


               It is your duty to weigh and to evaluate all the evidence received in
the case and, in that process, to decide the facts. It is also your duty to apply the
law as I give it to you to the facts as you find them, whether you agree with the law
or not.


       You must decide the case solely on the evidence and the law. You will
recall that you took an oath promising to do so at the beginning of the case. You
should also not be influenced by any person's race, color, religious beliefs, national
ancestry, sexual orientation, gender identity, gender, or economic circumstances.
Also, do not allow yourself to be influenced by personal likes or dislikes,
sympathy, prejudice, fear, public opinion, or biases, including unconscious biases.
Unconscious biases are stereotypes, attitudes, or preferences that people may
consciously reject but may be expressed without conscious awareness, control, or
intention.


              You must follow all these instructions and not single out some and
ignore others; they are all important. Please do not read into these instructions or
into anything I may have said or done any suggestion as to what verdict you should
return-that is a matter entirely up to you.




                                          2
                         COURT'S INSTRUCTION NO. 2


      The defendant has been charged in a document called an information. This
charging document is not evidence.


       The defendant has pleaded not guilty to the charge. The defendant is
presumed to be innocent unless the government proves the defendant guilty beyond
a reasonable doubt.


      In addition, the defendant does not have to testify or present any
evidence. The defendant does not have to prove innocence; the government has
the burden of proving every element of the charge beyond a reasonable doubt.




                                       3
                            COURT'S INSTRUCTION NO. 3


       Proof beyond a reasonable doubt is proof that leaves you firmly convinced
the defendant is guilty. It is not required that the government prove guilt beyond
all possible doubt.


       A reasonable doubt is a doubt based upon reason and common sense and is
not based purely on speculation. It may arise from a careful and impartial
consideration of all the evidence, or from lack of evidence.


       If after a careful and impartial consideration of all the evidence, you are not
convinced beyond a reasonable doubt that the defendant is guilty, it is your duty to
find the defendant not guilty.


       On the other hand, if after a careful and impartial consideration of all the
evidence, you are convinced beyond a reasonable doubt that the defendant is
guilty, it is your duty to find the defendant guilty.




                                           4
                    COURT'S INSTRUCTION NO. 4


      The evidence you are to consider in deciding what the facts are
consists of:


      First, the sworn testimony of any witness;


      Second, the exhibits received in evidence;


      Third, any facts to which the parties have agreed.




                                  5
                          COURT'S INSTRUCTION NO. 5


      In reaching your verdict you may consider only the testimony and exhibits
received in evidence. The following things are not evidence, and you may not
consider them in deciding what the facts are:


      1.     Questions, statements, objections, and arguments by the lawyers are
             not evidence. The lawyers are not witnesses. Although you must
             consider a lawyer's questions to understand the answers of a witness,
             the lawyer's questions are not evidence. Similarly, what the lawyers
             have said in their opening statements, will say in their closing
             arguments, and have said at other times is intended to help you
             interpret the evidence, but it is not evidence. If the facts as you
             remember them differ from the way the lawyers state them, your
             memory of them controls.


        2.    Anything you may have seen or heard when the court was not in
session is not evidence. You are to decide the case solely on the evidence received
at the trial.




                                         6
                            COURT'S INSTRUCTION NO. 6


        Evidence may be direct or circumstantial. Direct evidence is direct proof of
a fact, such as testimony by a witness about what that witness personally saw or
heard or did. Circumstantial evidence is indirect evidence, that is, it is proof of one
or more facts from which you can find another fact.


              You are to consider both direct and circumstantial evidence. Either
can be used to prove any fact. The law makes no distinction between the weight to
be given to either direct or circumstantial evidence. It is for you to decide how
much weight to give to any evidence.




                                           7
                           COURT'S INSTRUCTION NO. 7


       In deciding the facts in this case, you may have to decide which testimony to
believe and which testimony not to believe. You may believe everything a witness
says, or part of it, or none of it.


      In considering the testimony of any witness, you may take into account the
following:
      F~ the opportunity and ability of the witness to see or hear or know the
      things testified to;
      Second, the witness's memory;
      Third, the witness's manner while testifying;
      Fourth, the witness's interest in the outcome of the case, if any;
      Fifth, the witness's bias or prejudice, if any;
      Sixth, whether other evidence contradicted the witness's testimony;
      Seventh, the reasonableness of the witness's testimony in light of all the
      evidence; and
      Eighth, any other factors that bear on believability.


       Sometimes a witness may say something that is not consistent with
something else he or she said. Sometimes different witnesses will give different
versions of what happened. People often forget things or make mistakes in what
they remember. Also, two people may see the same event but remember it
differently. You may consider these differences, but do not decide that testimony
is untrue just because it differs from other testimony.
      However, if you decide that a witness has deliberately testified untruthfully
about something important, you may choose not to believe anything that witness
said. On the other hand, if you think the witness testified untruthfully about some
things but told the truth about others, you may accept the part you think is true and
ignore the rest.


                                          8
      The weight of the evidence as to a fact does not necessarily depend on the
number of witnesses who testify. What is important is hm.v believable the
witnesses were, and how much weight you think their testimony deserves.




                                         9
                           COURT'S INSTRUCTION NO. 8


              A defendant in a criminal case has a constitutional right not to
testify. In arriving at your verdict, the law prohibits you from considering in any
manner that the defendant did not testify.




                                         10
                           COURT'S INSTRUCTION NO. 9


      You have heard evidence that the defendant committed other acts not
charged here. You may consider this evidence only for its bearing, if any, on the
question of the defendant's intent, plan, knowledge, identity, absence of mistake,
and absence of accident and for no other purpose.




                                         11
                       COURT'S INSTRUCTION NO. 10



       You are here only to determine whether the defendant is guilty or not guilty
of the charge in the information. The defendant is not on trial for any conduct or
offense not charged in the information.




                                         12
                        COURT'S INSTRUCTION NO. 11


      The defendant is charged with three counts of Transportation of Certain
Aliens, in violation of Section 1324(a)(l )(a)(ii) of Title 8 of the United States
Code. For the defendant to be found guilty of a count, the government must prove
each of the following elements beyond a reasonable doubt as to each count:
      1. The person identified in the count is an alien;
      2. The person identified in the count was not lawfully in the United States;
      3. The defendant knew or acted in reckless disregard of the fact that the
person identified in the count was not lawfully in the United States; and
      4. The defendant knowingly transported or moved the person identified in
the count to help him or her remain in the United States illegally.
      An alien is a person who is not a natural-born or naturalized citizen of the
United States. An alien is not lawfully in this country if the person was not duly
admitted by an immigration officer.
       A person acts with reckless disregard if: ( 1) the person is aware of facts from
which a reasonable inference could be drawn that the alleged alien was in fact an
alien in the United States unlawfully, and (2) the person actually draws that
inference.




                                          13
                       COURT'S INSTRUCTION NO. 12


       An act is done knowingly if the defendant is aware of the act and does not
act through ignorance, mistake, or accident. You may consider evidence of the
defendant's words, acts, or omissions, along with all the other evidence, in
deciding whether the defendant acted knowingly.




                                         14
                        COURT'S INSTRUCTION NO. 13


       A defendant may be found guilty of transportation of certain aliens, even if
the defendant personally did not commit the act or acts constituting the crime but
aided and abetted in its commission. To "aid and abet" means intentionally to help
someone else commit a crime. To prove a defendant guilty of transportation of
certain aliens by aiding and abetting, the government must prove each of the
following beyond a reasonable doubt:

       First, someone else committed transportation of certain aliens;

        Second, the defendant aided, counseled, commanded, induced, or procured
that person with respect to at least one element of transportation of certain aliens;

        Third, the defendant acted with the intent to facilitate transportation of
certain aliens; and

       Fourth, the defendant acted before the crime was completed.

        It is not enough that the defendant merely associated with the person
committing the crime, or unknowingly or unintentionally did things that were
helpful to that person or was present at the scene of the crime. The evidence must
show beyond a reasonable doubt that the defendant acted with the knowledge and
intention of helping that person commit transportation of certain aliens.

        A defendant acts with the intent to facilitate the crime when the defendant
actively participates in a criminal venture with advance knowledge of the crime
and having acquired that knowledge when the defendant still had a realistic
opportunity to withdraw from the crime.

      The government is not required to prove precisely which defendant actually
committed the crime and which defendant aided and abetted.




                                          15
                     COURT'S INSTRUCTION NO. 14


      The punishment provided by law for this crime is for the court to
decide. You may not consider punishment in deciding whether the government has
proved its case against the defendant beyond a reasonable doubt.




                                      16
                       COURT'S INSTRUCTION NO. 15


      When you begin your deliberations, elect one member of the jury as your
presiding juror who will preside over the deliberations and speak for you here in
court.

       You will then discuss the case with your fellow jurors to reach agreement if
you can do so. Your verdict, whether guilty or not guilty, must be unanimous.

        Each of you must decide the case for yourself, but you should do so only
after you have considered all the evidence, discussed it fully with the other jurors,
and listened to the views of your fellow jurors.

         Do not be afraid to change your opinion if the discussion persuades you
that you should. But do not come to a decision simply because other jurors think it
is right.

        It is important that you attempt to reach a unanimous verdict but, of course,
only if each of you can do so after having made your own conscientious
decision. Do not change an honest belief about the weight and effect of the
evidence simply to reach a verdict.

        Perform these duties fairly and impartially. You should not be influenced
by any person's race, color, religious beliefs, national ancestry, sexual orientation,
gender identity, gender, or economic circumstances. Also, do not allow yourself to
be influenced by personal likes or dislikes, sympathy, prejudice, fear, public
opinion, or biases, including stereotypes, attitudes, or preferences that people may
consciously reject but may be expressed without conscious awareness, control, or
intention.

       It is your duty as jurors to consult with one another and to deliberate with
one another with a view towards reaching an agreement if you can do so. During
your deliberations, you should not hesitate to reexamine your own views and
change your opinion if you become persuaded that it is wrong.




                                          17
                       COURT'S INSTRUCTION NO. 16


       Because you must base your verdict only on the evidence received in the
case and on these instructions, I remind you that you must not be exposed to any
other information about the case or to the issues it involves. Except for discussing
the case with your fellow jurors during your deliberations:

      Do not communicate with anyone in any way and do not let anyone
      else communicate with you in any way about the merits of the case or
      anything to do with it. This restriction includes discussing the case in
      person, in writing, by phone, tablet, computer, or any other means, via
      email, text messaging, or any Internet chat room, blog, website or any
      other forms of social media. This restriction applies to
      communicating with your family members, your employer, the media
      or press, and the people involved in the trial. If you are asked or
      approached in any way about your jury service or anything about this
      case, you must respond that you have been ordered not to discuss the
      matter and to report the contact to the court.
      Do not read, watch, or listen to any news or media accounts or
      commentary about the case or anything to do with it; do not do any
      research, such as consulting dictionaries, searching the Internet or
      using other reference materials; and do not make any investigation or
      in any other way try to learn about the case on your own.

       The law requires these restrictions to ensure the parties have a fair trial
based on the same evidence that each party has had an opportunity to address. A
juror who violates these restrictions jeopardizes the fairness of these proceedings,
and a mistrial could result that would require the entire trial process to start
over. If any juror is exposed to any outside information, please notify the court
immediately.




                                          18
                      COURT'S INSTRUCTION NO. 17


       Some of you have taken notes during the trial. Whether or not you took
notes, you should rely on your own memory of what was said. Notes are only to
assist your memory. You should not be overly influenced by your notes or those
of your fellow jurors.




                                       19
                       COURT'S INSTRUCTION NO. 18


       A verdict form has been prepared for you. After you have reached
unanimous agreement on a verdict, your presiding juror should complete the
verdict form according to your deliberations, sign and date it, and advise the clerk
that you are ready to return to the courtroom.




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                       COURT'S INSTRUCTION NO. 19


      If it becomes necessary during your deliberations to communicate with me,
you may send a note through the clerk, signed by any one or more of you.

       No member of the jury should ever attempt to communicate with me except
by a signed writing, and I will respond to the jury concerning the case only in
writing or here in open court.

       If you send out a question, I will consult with the lawyers before answering
it, which may take some time. You may continue your deliberations while waiting
for the answer to any question.

      Remember that you are not to tell anyone-including me-how the jury
stands, numerically or otherwise, on any question submitted to you, including the
question of the guilt of the defendant, until after you have reached a unanimous
verdict or have been discharged.




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